
*101OPINION.
Steenhagen:
The petitioner attacks the Commissioner’s use of Hoskold’s formula in determining the discount value of the agreed royalties. She urges that the Commissioner was not justified in extending the probable life of the quarry to 20 years, based upon a spreading of the prior removal of 3,000,000 tons over the period of six years subsequent to February, 1907. But the petitioner proves nothing better. On March 1, 1913, so far as the evidence shows, the only experience upon which a valuation could be based was that 3,000,000 tons had been removed over a period of more than six years, thus giving a maximum annual average of 500,000 tons. If anyone could have prognosticated a greater output, it does not appear from this record. It can not be doubted that the prospect of 4 cents a ton sometime in the future is worth something- less than that at present. The old adage has it that the ratio is a bird in the hand to two in the bush. The Commissioner applied Hoskold’s formula to the data available, and upon the present record we are not convinced this was in error.

Judgment 'ivill be entered for Gommissioner.

